





                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-074-CR




RAYMOND FRANK JIMENEZ,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL

DISTRICT

NO. 90-476-K277, HONORABLE BURT CARNES, JUDGE


                       





PER CURIAM

	This is an appeal from a judgment of conviction for aggravated sexual assault. 
Tex. Penal Code Ann. § 22.021 (Supp. 1992).  The punishment is imprisonment for forty-five
years.  Judgment was rendered after the revocation of appellant's deferred adjudication probation.

	Appellant's court-appointed attorney filed a brief in which he concludes that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969); Jackson v. State, 485  S.W.2d 553
(Tex. Crim. App. 1972); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); High v.
State, 573  S.W.2d 807 (Tex. Crim. App. 1978).  A copy of counsel's brief was delivered to
appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.

	We have carefully reviewed the record and counsel's brief and agree that the appeal
is frivolous and without merit.  Further, we find nothing in the record that might arguably support
the appeal.

	The judgment of conviction is affirmed.


[Before Justices Powers, Jones and Kidd]

Affirmed

Filed:   February 5, 1992

[Do Not Publish]


